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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION

                                        Filed Electronically

  DAVID DOLEN                                 )
  and                                         ) Case No. 5:20-CV-00096-JMH
  LISA DOLEN                                  )
                    Plaintiffs,               ) Removed from Lincoln Circuit Court
                                              ) Civil Action No. 20-CI-00056
       v.                                     )
                                              )
  TEXAS EASTERN TRANSMISSION, LP,             )
  SPECTRA ENERGY OPERATING COMPANY, LLC,      )
  SPECTRA ENERGY TRANSMISSION RESOURCES, LLC, )
  SPECTRA ENERGY TRANSMISSION SERVICES, LLC,  )
  SPECTRA ENERGY CORP,                        )
  ENBRIDGE (U.S.) INC.,                       )
  and                                         )
  UNKNOWN DANVILLE COMPRESSOR STATION
                                              )
  OPERATOR,
                                              )
                    Defendants.

     DEFENDANTS TEXAS EASTERN TRANSMISSION, LP, SPECTRA ENERGY
  OPERATING COMPANY, LLC, SPECTRA ENERGY TRANSMISSION RESOURCES,
   LLC, SPECTRA ENERGY TRANSMISSION SERVICES, LLC, SPECTRA ENERGY,
         LLC f/k/a SPECTRA ENERGY CORP, AND ENBRIDGE (U.S.) INC.’S
                        RULE 26 INITIAL DISCLOSURES

        Pursuant to Federal Rules of Civil Procedure 26(a)(1), Defendants Texas Eastern

 Transmission, LP, Spectra Energy Operating Company, LLC, Spectra Energy Transmission

 Resources, Inc., Spectra Energy Transmission Services, LLC, Spectra Energy, LLC formerly

 known as Spectra Energy Corp, and Enbridge (U.S.) Inc. (collectively, “TETLP Defendants”), by

 counsel, submit the following initial disclosures based upon current understanding of the issues in

 the case and the information currently available. These disclosures do not waive any privilege,

 work-product protection, trade-secret protection, or other basis of protection. TETLP Defendants
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 reserve the right to object to production of documents or testimony based on any privilege or

 protection.

        In addition, TETLP Defendants are prohibited from disclosing certain information based

 on the National Transportation Board (“NTSB”) disclosure rule. See 49 C.F.R. § 831.13 (“[p]arties

 are prohibited from releasing information obtained during an investigation at any time prior to the

 NTSB’s public release of information...”). The NTSB is currently investigating the incident that is

 the basis of this lawsuit and TETLP Defendants are a party to that investigation. As a party to the

 NTSB investigation, federal law precludes TETLP Defendants from producing information related

 to the incident while the investigation is pending. See id. Upon the release of the NTSB final report

 and close of its investigation and subject to its objections, TETLP Defendants will provide non-

 privileged, responsive information, if any, that might supplement these disclosures.

        TETLP Defendants also reserve the right to supplement these disclosures as discovery

 progresses.

  I.    Individuals Likely to Have Discoverable Information

        Based on TETLP Defendants’ current investigation, TETLP Defendants are aware of the

 individuals listed below. TETLP Defendants make these initial disclosures without waiving any

 argument concerning the relevancy or admissibility of, or proper weight to be accorded to, any of

 the information known by the persons listed below. TETLP Defendants thus reserve the right to

 object to all or any part of the testimony that may be provided by these persons.

        Investigation and discovery are ongoing and TETLP Defendants may in the future identify

 additional persons, including third parties, who are likely to have discoverable information that

 TETLP Defendants may use to support their position. In that event, TETLP Defendants will




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 supplement these disclosures. At this time, TETLP Defendants are aware of the following

 individuals that may possess discovery information:

        1. Plaintiffs are expected to have first-hand knowledge of (1) the incident giving rise to
           this action (the “Incident”); and (2) Plaintiffs’ alleged injuries and damages.
        2. The following are right-of-way agents who contacted area residents/landowners after
           the accident; these individuals may be contacted via counsel for TETLP Defendants,
           D. Christopher Robinson; 400 West Market Street, Floor 32, Louisville, Kentucky
           40202; (502) 589-5400; crobinson@fbtlaw.com.
               Bianca Borden
               Kyle Cook
               Kevin Darbe
               Vance Eggemeyer
               Brad Franzese
               Zane Green
               Charlie Newman
               Justin Phillips
               Richard Thornton
               Mike Wiser

        3. The following individuals (including Plaintiffs) are area residents or landowners; the
           addresses listed (when known) are each individual’s last known address:

               Rebecca (Becky) Alford
                225 Indian Camp Road
                Stanford, KY 40484

               Grant Alford
                225 Indian Camp Road
                Stanford, KY 40484

               Doug Alsman
                Address not known.

               Joshua Best
                Address not known.

               Bob Bosley
                Address not known.

               Steve Caton
                P.O. Box 214


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              Harrodsburg, KY 40330

             James Coleman
              Address not known.

             Anna Connelly, Jessica Connelly, Logan Connelly, Robert Connelly, Jr., and
              Robert Connelly Sr.
              301 Indian Camp Road
              Stanford, KY 40484

             Donald Coulter
              10 Indian Camp Road
              Stanford, KY 40484

             William Coulter
              628 Sierra Circle
              Stanford, KY 40484

             Connie Crews
              589 Indian Camp Road
              Stanford, KY 40484

             John Dean and Lou Dean
              160 Indian Camp Road
              Stanford, KY 40484

             John Emerson and Doris Russell
              310 Indian Camp Road
              Stanford, KY 40484

             Danny Fields and Sandy Fields
              390 Sierra Circle
              Stanford, KY 40484

             William Gatliff
              186 Mitchell Lane
              Stanford, KY 40484

             Donna Lane
              3010 Bowen Road
              Stanford, KY 40480

             Sandra Laswell
              222 Mitchell Lane
              Stanford, KY 40484



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             Robin Martinez
              64 Indian Camp Road
              Stanford, KY 40484

             Maksim Meyko and Yuliya Meyko
              3430 Bowen Road
              Stanford, KY 40484

             Barbara Randolph and Elwood Randolph
              2985 Kentucky Highway 2141
              Stanford, KY 40484

             Jamie Rodgers and Whitney Rodgers
              245 Indian Camp Road
              Stanford, KY 40484

             Judy Silvers
              159 Indian Camp Road
              Stanford, KY 40484

             Donnie Turner
              185 Indian Camp Road
              Stanford, KY 40484

             Vicki Taylor
              Address not known.

             Nancy Wade
              327 Douglas Avenue
              Stanford, KY 40484

             Stephen Brian Wade
              327 Douglas Avenue
              Stanford, KY 40484

             Shea Willman
              478 Mitchell Lane
              Stanford, KY 40484

             Michael Wilson
              Address not known.

             Scott Wilson
              64 Indian Camp Road
              Stanford, KY 40484



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             Stephen Wood, Mary Jo Wood, and Bill Wood
              250 Indian Camp Road
              Stanford, KY 40484

             Patricia Worthington (Douglas)
              10965 Lebanon Road
              Parksville, KY 40464

             Plaintiffs in Alsman v. Texas Eastern Transmission, LP, et al., 5:20-cv-00375,
              United States District Court for the Eastern District of Kentucky

             Plaintiffs in Baker, et al. v. Texas Eastern Transmission, LP, et al., 5:20-cv-00393,
              United States District Court for the Eastern District of Kentucky

             Plaintiffs in Douglas v. Texas Eastern Transmission, LP, et al., 5:20-cv-00376,
              United States District Court for the Eastern District of Kentucky

             Plaintiff in Lynn v. Texas Eastern Transmission, LP, et al., 5:20-cv-00377, United
              States District Court for the Eastern District of Kentucky

             Plaintiff in Ray v. Texas Eastern Transmission, LP, et al., 5:20-cv-00392, United
              States District Court for the Eastern District of Kentucky

             Plaintiffs in Workman v. Texas Eastern Transmission, LP, et al., 5:20-cv-00396,
              United States District Court for the Eastern District of Kentucky

             Plaintiff in Reik v. Texas Eastern Transmission, LP, et al., Case No. 20-CI-00196,
              Lincoln Circuit Court, Kentucky

             Plaintiffs in Coulter, et al. V. Texas Eastern Transmission, LP, et al, Cause No.
              2019-56490, 295th Judicial District Court of Harris County, Texas

             Plaintiffs in Ellis et al v. Texas Eastern Transmission, LP, et al., Cause No. 2019-
              56253, 295th Judicial District Court of Harris County, Texas (consolidated with
              Coulter, et al. under Consolidated Case No. 2019-56490).

       4. The following are first responders who were present around the time of the accident;
          the addresses listed (when known) are each individual’s last known address:

                 Assistant Chief Jimmy Coffman
                  Jon Wesley, Firefighter
                  William Lane, Firefighter
                  Aaron Carey, Firefighter
                  Boyle County Fire Department
                  1500 Lebanon Road
                  Danville, KY 40422



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                 Chief Cory Kitchen
                  Major David Spanyer
                  Captain Charles Coffey Jr.
                  Lieutenant Chris Downs
                  Jim Harris, Firefighter
                  Willa Pennington, Firefighter
                  Bobby Gobis
                  Junction City Fire Rescue
                  792 W Shelby St
                  Junction City, KY 40440

                 Chief Scott Maples
                  Conner Maples, Firefighter
                  Stanford City Fire Department
                  400 E Main Street
                  Stanford, KY 40484

                 John King, Firefighter
                  Ben Atwood, Firefighter
                  Lewis Allen, Firefighter
                  Liberty Fire Department
                  51 Jockey Street
                  Liberty, KY 42539

                 Brandon Long, Firefighter
                  Ernie Richards, Firefighter
                  Gale Scott, Firefighter
                  John Harris, Firefighter
                  Tim Skaggs, Firefighter
                  Troy Scott, Firefighter
                  Dennis Allen, Firefighter
                  Albert Buck, Firefighter
                  Brush Creek Volunteer Fire Department
                  22 Chelf Ridge Road
                  Hustonville, KY 40437

                 Robbie Murphy, Firefighter
                  Brandon Burton, Firefighter
                  Kenny Durham, Firefighter
                  Derrick Pendleton, Firefighter
                  Zach Hatter, Firefighter
                  Freddy Cook Firefighter
                  Chase Payne, Firefighter
                  Brandon High, Firefighter
                  East Casey Volunteer Fire Department
                  2480 W Ky Hwy 198 HWY SW


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                  Middleburg, KY 42541

                 John King, Firefighter
                  Chris Atwood, Firefighter
                  Joe Atwood, Firefighter
                  Steven Sellers, Firefighter
                  Brandon Longhorn, Firefighter
                  Clementsville Volunteer Fire Department
                  11298 KY-70
                  Liberty, KY 42539

                 Asst Chief Billy Johnson
                  Crab Orchard Fire Department
                  604 Elm Street
                  Crab Orchard, KY 40419

                 Lincoln County EMS
                  Stanford KY 40484
                  Lincoln Co. Command Vehicle – Ashley Powell
                  Deputy Director – Dewey Cummins
                  EMTs:

                     James Walsh
                     Dakota Messinger
                     Garrett Brummel
                     DeAnn Edwards
                     Anthony Harness
                     Mike Ruhe
                     Adam Grigsby
                     Kim Morgan
                     Misty Day
                     Felicia Hampton
                     Jeff Godby
                     Josh Ruhe
                     Dustin Goyner
                     Josh Ledwick
                     John Preston

                 Boyle County EMS
                  1856 S Danville Bypass
                  Danville KY 40422
                  Director – Mike Rogers
                  Captain – Karen Staton
                  Major Jonathan Wesley
                  Paramedics/EMTs:
                     Rick Mitchem


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                     Jeff Russell
                     Lt. Andrew Green
                     Amanda Taylor
                     Jordan Parrott
                     Brad Ellis

                 Casey County EMS
                  1167 Campbellsville St
                  Liberty, KY 42539
                  Dale Knight
                  Rita Dorman

                 Ky Haz-Mat 12
                  Chief Doug Baker
                  Assist Chief Ryan Hughes
                  Captain Steve Woods
                  Lieutenant Chase Anderson

                 Lincoln County Sheriff’s Department
                  104 N Main Street
                  Stanford, KY 40484
                  Sheriff Curt Folger
                  Dewayne Taylor
                  Griffin Harness
                  Jimmy Vines
                  Nick Adams
                  Mike Martin
                  Michael Mullins
                  Billy Hester
                  Rob Oney
                  Jason Hignight
                  Jake Adams

                 Stanford Police Department
                  305 E Main Street
                  Stanford, KY 40484
                  Preston Middleton
                  TJ Godby

                 Boyle County Sheriff’s Department
                  321 W Main Street, #103
                  Danville, KY 40422
                  Sheriff Derrick Robinson
                  Constable Buck Salyers
                  Chief Deputy Chris Stratton
                  Donnie Moses


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                  Danville Police Department
                   445 W Main Street
                   Danville, KY 40422
                   Chief Tony Gray
                   Assistant Chief Glen Doan
                   Sergeant Chris Wentz
                   Officer Jacob Farley
                   Officer Brandon Jewell

                  Kentucky State Police – Post 7
                   699 Eastern Bypass
                   Richmond, KY 40475
                   Pat Alford

                  Russell County Sheriff’s Office
                   410 Monument Sq #109
                   Jamestown, KY 42629
                   Luke Hughes

              Doug Baker
               Address not known.

              Maxwell Bird
               113 Shun Pike
               Nicholasville, KY 40356

              Jerrod Elam
               211 Simpson Lane
               Danville, KY 40422

              Donnie Moses
               103 Berwick Drive
               Danville, KY 40422

              Colby Reik
               107 Deer Run Drive
               Lancaster, KY 40444

              Chris Stratton
               Address not known.

              Mike Wilder
               Address not known.




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        5. The following are personnel, contractors, or representatives who may have
           participated in any investigation related to the Incident:

              Thomas Wooden
              Andy Drake
              Gary Dial
              Than Phan
              Rick Kivela
              Gary Vervake
              Nathan Atanu

               The above individuals may be contacted via counsel for TETLP
               Defendants, D. Christopher Robinson; 400 West Market Street, Floor 32,
               Louisville, Kentucky 40202; (502) 589-5400; crobinson@fbtlaw.com.

              Alexandria Colletti
              Michael Hiller
              Rick Downs
              Frank Zakar
              Gery Bauman

               The above individuals may be contacted via Benjamin Allen, Assistant
               General Counsel, National Transportation Safety Board, 490 L'Enfant Plaza
               East, S.W., Washington, DC 20594; (202) 314-6000.

        6. Any medical providers listed by Plaintiffs as having treated Plaintiffs either
           prior to the Incident or because of the Incident.

        7. Employees, representatives, or agents of TETLP Defendants, including but not
           limited to Jim McGuffey (deceased) and Barry Howard. These individuals may
           be reached through counsel for TETLP Defendants, D. Christopher Robinson;
           400 West Market Street, Floor 32, Louisville, Kentucky 40202; (502) 589-5400;
           crobinson@fbtlaw.com.

        8. Employees, representatives, or agents of NDT Systems & Services (America)
           Inc., NDT Systems and Services, LLC, NDT Systems and Services, Inc., NDT
           Global LLC d/b/a TSC Subsea Corp., and/or Weissker Molch LLC.

        9. Any person identified in Plaintiffs’ or any party’s initial disclosures made under
           Rule 26(a)(1).




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         10. Any person identified in Plaintiffs’, TETLP Defendants’, or any party’s
             discovery responses and/or document production.

         11. All individuals and/or witnesses (including expert witnesses) hereafter
             identified through discovery.

  II.    All Documents in TETLP Defendants’ Possession, Custody, or Control Relevant to
         Disputed Facts

         Based on TETLP Defendants’ current knowledge and understanding, and subject to the

  restrictions of the NTSB investigation noted above, TETLP Defendants may use the categories of

  documents described below to support its claims and/or defenses. The documents are in the

  possession of counsel and may be inspected upon request. They will also be produced at a mutually

  convenient time and place; however, TETLP Defendants reserve the right to seek relief under Rule

  26(c) prior to production of some or all of the documents.

         TETLP Defendants make these initial disclosures without waiving any argument

  concerning the relevancy or admissibility of, or proper weight to be accorded to, any of the

  documents or information contained in the documents. And as stated above, TETLP Defendants

  make these initial disclosures without waiving any applicable privilege or doctrine. Discovery is

  continuing, and TETLP Defendants reserve the right to supplement these disclosures as

  appropriate and necessary.

         TETLP Defendants believe that it has the following documents in its possession, custody,

  or control:

         1. Photos and video of the Incident and the scene of the Incident, including news reports;

         2. Any applicable insurance policy;

         3. Reports and information obtained from any first responders, including police, fire,
            EMT, coroner, and others;

         4. Reports (if and when available) by government investigators, including but not limited
            to NTSB;


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         5. Other documents as may be necessary to produce depending on the course of discovery.

  The above documents are available for copying and/or inspection at a mutually agreeable time at

  400 W. Market Street, 32nd Floor, Louisville, Kentucky 40202.

 III.    Computation of Damages

         TETLP Defendants are not seeking damages in this action.

 IV.     Insurance Agreement(s)

         TETLP Defendants are insured through policies of insurance as described in the attached

  declarations pages.

 V.      Conclusion

         In making these required disclosures pursuant to Fed. R. Civ. P. 26, TETLP Defendants

  have acted in good faith to provide the most complete information currently available. TETLP

  Defendants reserve the right to assert any applicable or appropriate objections, including but not

  limited to those related to: (1) disclosure of documents, data compilations, and tangible things that

  contain confidential, proprietary and/or trade secret information; and (2) the disclosure of

  documents, data compilations, and tangible things that contain information subject to the attorney

  client privilege, the work product doctrine, or any other applicable privilege or doctrine that

  restricts or prohibits the discovery of documents or information. TETLP Defendants also reserve

  the right to further supplement these Disclosures as relevant information comes to light through

  discovery, but do not assume any obligations beyond those required by the Civil Rules.

                                                Respectfully submitted,
                                                /s/ D. Christopher Robinson
                                                Steven M. Crawford
                                                D. Christopher Robinson
                                                Allison W. Weyand
                                                Liam E. Felsen
                                                FROST BROWN TODD LLC
                                                400 West Market Street, 32nd Floor


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                                                 Louisville, KY 40202-3363
                                                 Phone: (502) 589-5400
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                                                 scrawford@fbtlaw.com
                                                 crobinson@fbtlaw.com
                                                 aweyand@fbtlaw.com
                                                 lfelsen@fbtlaw.com
                                                 Counsel     for   Defendants,    Texas   Eastern
                                                 Transmission, LP, Spectra Energy Operating
                                                 Company, LLC, Spectra Energy Transmission
                                                 Resources, Inc., Spectra Energy Transmission
                                                 Services, LLC, Spectra Energy, LLC, and Enbridge
                                                 (U.S.) Inc.


                                     CERTIFICATE OF SERVICE

          It is hereby certified that on October 30, 2020, I electronically filed the foregoing with the
  Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to
  the following:

  Tanner H. Shultz
  MORGAN & MORGAN, KENTUCKY PLLC
  333 West Vine Street, Suite 1200
  Lexington, KY 40507
  Phone: (859) 219-4529
  Fax: (859) 367-6146
  tshultz@forthepeople.com
  Counsel for Plaintiffs
                                   /s/ D. Christopher Robinson
                                   Counsel     for    Defendants,   Texas   Eastern
                                   Transmission, LP, Spectra Energy Operating
                                   Company, LLC, Spectra Energy Transmission
                                   Resources, Inc., Spectra Energy Transmission
                                   Services, LLC, Spectra Energy, LLC, and Enbridge
                                   (U.S.) Inc.

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